                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

  UNITED STATES OF AMERICA                             )
                                                       )
  v.                                                   )       Case No. 1:18-CR-11
                                                       )
  JERRY WAYNE WILKERSON,                               )       Judge Mattice
  MICHAEL CHATFIELD,                                   )
  KASEY NICHOLSON,                                     )
  BILLY HINDMON, and                                   )
  JAYSON MONTGOMERY                                    )
                                                       )

                                              ORDER

         As agreed to by all counsel at the Final Pretrial Conference held today, September

  10, 2019, the following days are hereby designated for the trial of this matter: September

  11, 12, 17, 18, 24, 25, 26, 27, and October 1, 2, 3, 4, 8, 9, 15, 16, 18, all in the year 2019.



         SO ORDERED this 10th day of September, 2019.




                                                            ___/s/ Harry S. Mattice, Jr. ___
                                                                 HARRY S. MATTICE, JR.
                                                           UNITED STATES DISTRICT JUDGE




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